                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                         AT KNOXVILLE

   UNITED STATES OF AMERICA                          )
                                                     )       No. 3:16-CR-20
   v.                                                )
                                                     )       Judge Collier
   MARK HAZELWOOD                                    )


                                     MEMORANDUM & ORDER

          Before the Court is an October 17, 2020, motion by Defendant Mark Hazelwood to modify

   the terms of his release following the reversal of his conviction by the Court of Appeals for the

   Sixth Circuit. (Doc. 954.) Defendant argues it is appropriate to reimpose the original, less

   restrictive conditions of pretrial release (Doc. 15) in light of the restoration of the presumption of

   his innocence and his long history of compliance with all terms of both his pretrial release and his

   post-conviction release with the condition of home confinement. (Doc. 954.) Defendant further

   asks for the removal of the property bond on his residence. (Id.)

          The United States (the “Government”) responded on October 30, 2020. (Doc. 955.) The

   Government represented that it was deciding whether to seek a rehearing en banc of the appellate

   decision.   (Id.) Because of the role of the Solicitor General in making that decision, the

   Government had sought and received from the Court of Appeals an extension of its deadline to

   move for rehearing through November 30, 2020. (Id.) The Government asked the Court to

   continue Defendant’s current conditions of release through the resolution of any petition for

   rehearing, if the Government decides to pursue rehearing. (Id.) The Government agreed with

   Defendant, however, that if the Government does not pursue or receive a rehearing, the decision

   of the Court of Appeals “would vitiate the rationale supporting [Defendant’s] home confinement,

   namely the incentive to flee arising from an imposition of a sentence of incarceration.” (Id. at 2.)




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          Defendant replied on November 2, 2020. (Doc. 956.) He argued the Government’s chance

   of obtaining en banc review was low, the doctrine disentitling fugitives from continuing their

   appeals was a strong deterrent to flight, and Defendant’s history of cooperation with his release

   terms under these circumstances made restoration of his previous bond terms appropriate. (Id.)

          On December 30, 2020, the Court of Appeals denied the Government’s petition for panel

   rehearing. (Doc. 979.) On the same day, Defendant filed a supplement to his motion in light of

   the denial, representing that the Government does not object to the restoration of Defendant’s

   previously ordered conditions of pretrial release. (Doc. 976.) The mandate issued on January 7,

   2021. (Doc. 982.)

          For good cause shown, the motion (Doc. 954) is GRANTED. The conditions of release

   set out in the Court’s Order of February 9, 2016 (Doc. 15) are REIMPOSED. The matter is

   REFERRED to United States Magistrate Judge H. Bruce Guyton, pursuant to 28 U.S.C.

   § 636(b)(1), to determine whether a hearing is necessary and to conduct any hearings and take any

   actions he may deem appropriate under 28 U.S.C. § 636(b)(1) regarding Defendant’s conditions

   of release and the property bond on Defendant’s residence.


          SO ORDERED.

          ENTER:

                                                       /s/____________________________
                                                       CURTIS L. COLLIER
                                                       UNITED STATES DISTRICT JUDGE




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